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          EXHIBIT 36
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                                                                      Page 1

1                   IN THE UNITED STATES DISTRICT COURT
2                     NORTHERN DISTRICT OF CALIFORNIA
3
4
5
        SOCIAL TECHNOLOGIES LLC,                    )
6                                                   )
                      PLAINTIFF,                    )     CIVIL ACTION
7                                                   )     FILE NO.
                       VS.                          )     3:18-CV-05945-VC
8                                                   )
        APPLE INC.,                                 )
9                                                   )
                      DEFENDANTS.                   )
10      ________________________________)
11
12
13
14
15
16            VIDEOTAPED DEPOSITION OF CHRISTOPHER ANTHONY
17                                 JUNE 25, 2019
18
19
20
        REPORTED BY KIMBERLY EDELEN,
21                      C.S.R. NO. 9042, CRR, RPR.
22
23
24
25

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1             A       Correct.
2                     MR. DUNNE:     Objection to form.
3       BY MS. TORRES:
4             Q       You filed a motion to intervene in this
5       case.
6                     Are you aware of that?
7             A       Yes.
8             Q       Or your counsel did.
9             A       Yes.
10            Q       Did you review that motion prior to its
11      filing?
12            A       Somewhat, yes.
13            Q       I'm going to ask the court reporter to
14      mark -- actually, I don't know that we need to mark
15      it.       It's part of the docket.
16                    I'm going to hand you a copy of a Notice of
17      Motion and Motion by Christopher Anthony.                 It's on
18      the docket as Document 65.
19                    Turn to Page 3.       If you look at Line 3, the
20      first full paragraph, in your motion you claim that
21      in August 2016 Apple notified Anthony that his
22      Memoji app needed to be upgraded and thereafter took
23      down the app from the App Store.
24                    Do you see that?
25            A       That's when Apple sent the e-mail out.

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1              Q      What e-mail?
2              A      The e-mail that the app needed to be
3       upgraded.
4              Q      Did you produce a copy of that e-mail?
5              A      No, I didn't.
6              Q      Okay.
7              A      Well, actually, I did.         This portion of it,
8       yes.       I have that, too.      I thought that was part of
9       the bundle.
10             Q      We didn't receive a communication produced
11      by you from Apple to you in -- in or about August of
12      2016.
13                    If you have such a document, please produce
14      it.
15             A      I will.
16             Q      And you say, "And thereafter took the app
17      from the app -- took down the app from the App
18      Store."
19                    Do you see that?
20             A      Yes.
21             Q      When you say by "thereafter," you mean in
22      or about August of 2016?
23             A      Somewhere like that, probably.
24             Q      You -- it says --
25             A      Actually, it wasn't -- it wasn't exactly

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1       that day, no, because it actually was -- I had
2       disputed this.
3                   MR. SCHIFFER:       Well, for the record to be
4       clear, this is a memorandum that I authored, not
5       Mr. Anthony, so you can ask him if he agrees with
6       the statements but you're asking as though he wrote
7       it.
8       BY MS. TORRES:
9             Q     Did you -- you said you reviewed this
10      document before it was filed, correct?
11            A     Somewhat, yes.
12            Q     And did you approve these statements?
13            A     Yes.
14                  MR. SCHIFFER:       Objection.        Objection.
15      Attorney-client privilege.            I'm going to instruct
16      the witness not to answer.
17      BY MS. TORRES:
18            Q     Is it your testimony that your counsel
19      filed a document that you had not approved?
20                  MR. SCHIFFER:       Objection.        I'm going to
21      instruct him not to answer --
22                  MS. TORRES:      Okay.
23                  MR. SCHIFFER:       -- regarding our
24      communications.        He told you he reviewed the
25      document.      You can go on from there.

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1             A     I'm sure I did.        I just don't remember what
2       date it was exactly.
3             Q     I'll represent to you that Apple's records
4       show your app was not available from August of 2015
5       until December of 2018.
6                   Do you have any reason -- do you have any
7       evidence to show that that's not true?
8                   MR. DUNNE:      Objection to that
9       representation.        If you have information --
10                  MR. SCHIFFER:       Go ahead.         Objection.
11      Assumes facts not in evidence, calls for
12      speculation.
13                  THE WITNESS:       It's actually not.         The last
14      analytics page that you showed me, the analytics
15      page that starts in October that shows the download
16      of 2018.
17      BY MS. TORRES:
18            Q     Do you have an exhibit number?
19            A     Yeah.    I'm looking for it right now.
20                  MR. DUNNE:      With all due respect, if you
21      have a document, show the witness a document.
22                  MS. TORRES:      He's pointing to a document,
23      not me.
24                  MR. DUNNE:      You made representations about
25      documents from your client.            I mean, it's --

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1                   THE WITNESS:       173.
2       BY MS. TORRES:
3             Q     Okay.
4             A     It's October 26, 2018.
5             Q     Okay.
6             A     That's before December.
7             Q     Where do you see that it was actually
8       available on October 26, 2018?
9             A     From the timeframe I have at the top,
10      October 26, 2018 to March 2019.
11            Q     And if you look all the way to the left, on
12      that timeline --
13            A     November?
14                  MR. DUNNE:      For clarity, what exhibit
15      number are we looking at?
16                  THE WITNESS:       That's before December.
17                  MS. TORRES:      173.
18                  THE WITNESS:       You stated if it was
19      available before December.
20      BY MS. TORRES:
21            Q     Fair enough.       Fair enough.
22                  Do you have any -- do you have any
23      documentation showing that your app was available on
24      the App Store between August of 2015 through the end
25      of October of 2018?

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1             A     Not written documents, no.
2             Q     No -- no documentation whatsoever?
3                   MR. DUNNE:      Objection.
4                   THE WITNESS:       Just my -- my payments,
5       invoices of my membership renewals.
6                   MR. SCHIFFER:       Let me pose an objection to
7       this line of questioning.           Since your client is the
8       one that could or could not make the app available
9       on its App Store, so it seems like a little odd that
10      you're asking him to prove what your client
11      apparently can prove.          If you have documents, show
12      him the documents.         I don't know why we're making
13      this a wild goose chase.
14                  MS. TORRES:      He's taken the position that
15      it was available and our records show it's not.
16      We've produced those records.
17                  MR. SCHIFFER:       Not to us.
18                  MS. TORRES:      You're not a party.
19                  MR. SCHIFFER:       Okay.     So you're asking him
20      about what you have produced to somebody but he's
21      not looking at it so you're sort of asking him to
22      unprove your theory which is a little unfair.
23      BY MS. TORRES:
24            Q     Turning to the last exhibit, which is --
25      oh, actually, it's not an exhibit.                It's the Notice

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1       BY MS. TORRES:
2             Q     Did he ever make you any offer?
3                   MR. DUNNE:       Object to form.
4                   THE WITNESS:        Besides offer to buy it or
5       said he had somebody interested in purchasing it?
6       BY MS. TORRES:
7             Q     Yeah, did he ever make --
8             A     He never made a monetary offer, no.
9             Q     No.
10                  In December 2018 he first told you about
11      the lawsuit with Apple, correct?
12                  MR. DUNNE:       Object to form.
13                  THE WITNESS:        Yes.
14      BY MS. TORRES:
15            Q     And what did he tell you specifically?
16                  MR. DUNNE:       Object to form.
17                  THE WITNESS:        He said that Apple had
18      created an app called Memoji, that they were using
19      an app called Memoji.
20      BY MS. TORRES:
21            Q     Okay.     And did he tell you anything else?
22            A     He said that they were actually in a
23      lawsuit or at the time he just said that they had
24      created an app called Memoji as well and that they
25      had registration for the app.               And they saw that I

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1       had prior use of it and asked if I was interested in
2       selling it.
3             Q     And did he tell you it was because he
4       wanted your rights for purposes of the lawsuit?
5                   MR. DUNNE:      Object to form.
6                   THE WITNESS:       He didn't exactly say that,
7       no.
8       BY MS. TORRES:
9             Q     Is that what you understood him to say?
10            A     At the time.
11            Q     Did he -- did he make you any monetary
12      offer at that time?
13                  MR. DUNNE:      Object to form.
14                  THE WITNESS:       Before that, before he told
15      me they were -- before they told me who they even
16      were, he had -- they had mentioned that they would
17      be willing to offer something, I guess the term was
18      lottery and life changing offer before I even knew
19      that they were involved in a lawsuit with Apple.
20      BY MS. TORRES:
21            Q     So prior to --
22            A     Me finding out.
23            Q     Prior to him telling you that Social Tech
24      was in a lawsuit with Apple, he told you that he was
25      in a position to make you a lottery-type life

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1       changing offer?
2                   MR. DUNNE:      Object to form.
3                   THE WITNESS:       He said he had investors or
4       people that he was dealing with that were interested
5       and they'd be willing to make a life changing,
6       possibly lottery-type offer.
7       BY MS. TORRES:
8             Q     And did you ask him what that meant?
9             A     Of course.
10            Q     And what did he say?
11            A     He didn't specify.         Lottery and life
12      changing was all I needed so I drew conclusions from
13      there.
14            Q     Okay.    From that did you -- did you
15      conclude that he was willing to offer you a lot of
16      money?
17            A     At the time, yes.
18            Q     And did he in fact ever offer you a lot of
19      money?
20            A     No.
21                  MR. DUNNE:      Object to form.
22      BY MS. TORRES:
23            Q     What did he offer you, if anything?
24            A     Just that was the last conversation we had
25      at the time about the money until the -- then he

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1       told me who they were in December after the fact.
2             Q     Okay.    So in December he told you who his
3       quote/unquote investors were and he disclosed that
4       they were in fact Social Tech, correct?
5             A     Correct.
6                   MR. DUNNE:      Object to form.
7       BY MS. TORRES:
8             Q     And at that time did he make you any
9       concrete offer?
10            A     Not specifically.         They said that they
11      would be willing to take a percentage -- or have me
12      a percentage of my app toward, you know -- they'd be
13      willing to invest in the purpose of my app.                 They
14      wanted to buy it for like seven percent of whatever,
15      you know, they had ongoing litigation with Apple.
16            Q     So he was willing to offer you
17      seven percent of whatever they recovered from
18      Apple --
19            A     Correct.
20            Q     -- in order to buy your app?
21                  MR. DUNNE:      Object to form.
22                  THE WITNESS:       Correct.
23      BY MS. TORRES
24            Q     And that's the offer he made to you in
25      December of 2017?

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1                   MR. DUNNE:      Object to form.
2                   THE WITNESS:       I believe so.
3       BY MS. TORRES:
4             Q     And did you accept that offer?
5             A     No, I did not.
6             Q     How long did those negotiations continue?
7                   MR. DUNNE:      Object to form.
8                   THE WITNESS:       Not very long, I guess.
9       Shortly after I replied to their offer, and then I
10      didn't hear from them after that.
11      BY MS. TORRES:
12            Q     And was that all within December of 2018?
13            A     No.     It went on for 20 -- January as well.
14            Q     Okay.
15            A     I believe there's something in the
16      documents.
17            Q     So at some point in -- in January of 2019
18      you told them you were not accepting their offer; is
19      that right?
20            A     No.     I e-mailed them with a counteroffer.
21            Q     Okay.
22            A     In 20 -- yeah, January, I believe.
23            Q     And what was your counteroffer?
24            A     20 percent.
25            Q     20 percent of whatever they --

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1             A     Yes.
2             Q     -- recovered from Apple in this lawsuit?
3             A     Correct.
4             Q     Was there any actual cash component?
5             A     No.
6             Q     Did -- did they accept your counteroffer?
7             A     No.
8             Q     And did they affirmatively reject your
9       counteroffer?
10            A     No.
11            Q     Did they simply just not respond?
12            A     Correct.
13            Q     When was the next time you heard from
14      anyone connected with Social Tech?
15                  MR. DUNNE:       Object to form.
16                  THE WITNESS:        I'm not sure what the exact
17      date was, but it was sometime later in February, I
18      believe, of 2019.
19      BY MS. TORRES:
20            Q     And what -- was it Mr. Grant again --
21            A     Yes.
22            Q     -- or did you talk to someone else?
23                  MR. DUNNE:       Object to form.
24                  THE WITNESS:        At the time it was Justin
25      Grant.

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